LU§§§DHTST§§C¥MEPD§¥ §@PRT-; §§UJUEMWS '§ QFO‘F*EF)R'DA
CHAPTER 13 PLAN (lndividua§ Adiustment of Debts) www.fls .uscourts.;»zov

st nd
Amended Plan (lndicate f , 2 , etc` amended, if applieable)
51 nd
j4a1 Modil`xed Pian {lndicate l , 2 , ete. amended, ifapplicable)

DEBTOR: Beatriz Zaldivar JOINT DEBTOR: Omar A. Marino CASE NO.: l ]~3?513 BKC RAM
Last Four Digits of SS# 6764 Last Four Digits of SS# _12{}1

This document is a plan summary Additionaf data on file in eierk's office attached to original plan.
MONTHLY PLAN PAYMENT: including trustees fee of Ef)% and beginning 30 days From filing/conversion date,
Debtor(§) to pay to the trustee for the period of__é_O_ months. ln the event the trustee does not collect the full EO%, any
portion not collected will be paid to creditors pro-rata under the plan:
A. $ 3125.46 for months l to 27 ;
B. $ 3431.4l for mon§hs m 28 to MGE} M;
C. $M for months M Wto M WW; in order to pay the following creditors

Adm§oistrative: Attorney'$ l~`ee - $ 5000.00 + $525.09 (Motion to Modii`v} ; $5525.00TOTAL PAID $360{}.(}0 Balance Due $ 1925.00
payable $5 l .85 f month (Months _l__ to _2_'1) and Sl$.9l f month (Months 28 to 60}

Secured Creditors: {Retain Liens pursuant to ii U.S.C. § 1325 (a){$)} Mongage(S)/Liens on Real or Personal Property:

, . l. lnternai Revenue Service Arrearage on Petition Date $ 4,090.00

Ac.idress:m PC Box 73¥7 Ai'rears Payment $63.42."month (Months l to 27)
m Phi;adelphia, PA wier-wm

Aecount No: _i 201

lntemai Revenue Se:'v§ee {Contd) Arrears Paymerit 3 72.05 / month (Months 28 to 60)
2. Ameriean l"lorne Mortgage Servicing, lnc. Arrearage on Petition Date 3 33,386.42
/-‘iddress:m Bankruptcy Dept. Arrears Payment $ 517.68 /month (Momhs l to 27)
E525 S. Beltline Road, Suite EOO N Reguiar Paymen€s $1323.68/ monih (Months l to 27)

_ Coppell, "i`X 75019
Account No: 752{)

American i~lome Mortg,age Servieing, lnc. (eontd) An'ears Payment $ 588.17 / month (Months 28 to 60)
Regular Payment $816.04 / month (Months 28 to 60)

IF YOU ARE A SECURED CREDI'I`OR L`!STED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURI'NG
YOUR CLAll\/f EN THE AM{)UNT IND!CATED. A SEPARATE M()TION (UT!L!ZING LOCAL FORM MOTION T() VALUE
COLLATERAL IN PLAN} WILL ALSO BE SERVEI) ()N YOU PURSE}AN’}` 'E`O BR 7004 and LR 3015-3.

 

Securecf Creditor Description of Plan Payments Months of Payment Total Plan `Payments
Collaterai and Value
of Collaterai

interest
Rate

 

Bank of Ameriea Home Debtor’s non~

Loans homestead at 3601
SW lf'! Avenue # 9-
106, anm;, Fl, 33175 $78} _87 110 2?

Vafue of Properry: 5.25 % $SS,GE0.00
$ 48’290'00 $3927.26 28 to 60
Value of Mo:'tgagee’$

lnterest in the
Pro;)eriy: $ 48,290.{)0

 

 

Bank of America Home Deo§or’s homestead ai
Loans 3155 Village Green,
Miami, FL 33175

Vaiue of Property;
S E60,000.G{) N/A $ 0 N/A N/A

VaEue of Mor£g,agee’s
loterest in the
Property 3160,000.00

 

 

 

 

 

 

 

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Prioritv Creditors: las defined in 1 1 U.S.C. §507]

= _ §. Internai Revenue Service Arrearage on Petition Date $ 16,539.23

Address:_ PO Box 7317 Arrears Payrnent $ 256.45/month (Months l to 27)
j Philadelphia, PA E9lOl-7317

Account No: W1201

lnternal Revenue Service (contd) Arrears Payment $293 .37 /month (Months 28 to 60)
Unsecured Creditors: Pay $ 277.47 f month (Months 28 to 60)

Pro rata dividend wiil be eaicnlated by the Trustee upon review of filed claims after bar date.

Othe:' Pi'ovisions Not lncinded Above: Tiie debtor( S) is hereby advised that the chapter 13 trustee has requested

that the debtor(s) compiy with 52i(t`) l~é on an annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the
deadiine for providing the Trustee with their fried tax returns is modified to be on or before May 35 each year the case is pending and that
the debtor shall provide the Trustee with verification of their disposabfe income if their gross household income increases by more than 5%
over the previous year's income

l declare that the foregoing chapter l3 plan is true and correct under penalty ofperjury_

fs./ Richard J. Adams Esg. /s/ Richard J, Adarns Esg.
Debtor : Beatriz Zaidivar Joint Debtor; Omar A. Marino

Date: l/IS/ZGM Date: l/l5/2014

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Modification Ledger
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Attorney: _

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